Case 1:03-md-01570-GBD-SN Document 210

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON

SEPTEMBER 11, 2001

GEORGE B. DANIELS, District Judge:

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ORDER
03 MDL 1570 (GBD)
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The parties’ request that the July 15, 2008 conference be rescheduled, to September 15,

2008 at LOAM, is granted.

Dated: New York, New York
July 14, 2008

SO ORDERED:

iss B&B Dordt

C] GORGE B. DANIELS
United States District Judge
